Case 1:18-cv-05292-AMD-RML Document 165 Filed 10/19/22 Page 1 of 1 PageID #: 2342


  Green Kaminer Min & Rockmore LLP
  420 Lexington Ave., Ste 2821                                                        600 Old Country Rd., Ste. 410
  New York, New York 10170                                                            Garden City, New York 11530
  T.212.681.6400                                                                                   T. 516.858.2115




                                                             October 19, 2022

  Via ECF

  Honorable Ann M. Donnelly
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York

            Re:       Saada v. Golan
                      Case No. 18-CV-05292

  Dear Judge Donnelly:

         We represent Petitioner Isacco Jacky Saada in this above referenced proceeding. Earlier this
  evening Ms. Golan’s bother called Mr. Saada to advise him that unfortunately she had passed away.
  We confirmed this tragic news with Ms. King and Mr. Levy.

          We are asking the Second Circuit to lift their administrative stay on Your Honor’s return
  order and to dismiss the pending appeal. We ask that this Court be prepared to release B.A.S.’s
  passport to Mr. Saada as soon as practicable so that he can bring B.A.S. home. Mr. Saada plans to
  arrive in New York tomorrow and we ask for an order directing that B.A.S. be delivered to Mr.
  Saada until these proceedings can be technically unwound and they are able to return to Italy.

            Finally, we request a conference call with the Court to discuss the above matters.


                                                             Respectfully Submitted,


                                                             ________________________
                                                             Michael Banuchis, Esq.

  cc:       All counsel of record (via ECF)




                                 Website: www.gkmrlaw.com • Email: info@gkmrlaw.com
